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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR17-087-TSZ
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   FREDY RAMON GUTAMA-GUTAMA,           )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances; Conspiracy to Commit

15 Money Laundering; Distribution of a Controlled Substance (5 counts); Possession of a

16 Controlled Substance with Intent to Distribute (3 counts); Asset Forfeiture Allegations

17 Date of Detention Hearing:     March 27, 2017.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22 / / /



     DETENTION ORDER
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02         1.      Defendant is reportedly a citizen of Ecuador.

03         2.      The United States alleges that his presence in this country is illegal. There is

04 an immigration detainer pending against him.

05         3.      Defendant and his counsel offer no opposition to entry of an order of detention.

06         4.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

07 Services. Therefore, there is limited information available about him.

08         5.      Defendant poses a risk of nonappearance due to lack of legal status and

09 immigration detainer. Defendant poses a risk of danger due to the nature of the instant offense

10 and lack of verified background information. There does not appear to be any condition or

11 combination of conditions that will reasonably assure the defendant’s appearance at future

12 Court hearings while addressing the danger to other persons or the community.

13 It is therefore ORDERED:

14      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

15         General for confinement in a correction facility separate, to the extent practicable, from

16         persons awaiting or serving sentences or being held in custody pending appeal;

17      2. Defendant shall be afforded reasonable opportunity for private consultation with

18         counsel;

19      3. On order of the United States or on request of an attorney for the Government, the person

20         in charge of the corrections facility in which defendant is confined shall deliver the

21         defendant to a United States Marshal for the purpose of an appearance in connection

22         with a court proceeding; and



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01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 28th day of March, 2017.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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     DETENTION ORDER
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